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1                                       UNITED STATES DISTRICT COURT

2                                           DISTRICT OF NEVADA

3                                                        ***
      NECHE, LLC, a Nevada Limited Liability
4     Corporation,
5                          Plaintiff,                       2:19-cv-01016-APG-VCF
                                                            ORDER
6     vs.
      ALLIED INSURANCE COMPANY OF
7
      AMERICA, an Ohio Corporation;
8
      NATIONWIDE MUTUAL INSURANCE
      COMPANY, an Illinois Corporation,
9
                            Defendant.
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11
            Before the Court is Defendant    Allied     Insurance   Company     Of    America’s 1) Emergency
12
     Motion For Protective Order, And/Or Alternatively, 2) Emergency Motion To Stay Deposition
13
     Pending Outcome Of Motion For Protective Order (ECF No. 72).
14
            Accordingly,
15
            IT IS HEREBY ORDERED that a video conference hearing on Defendant Allied Insurance
16
     Company Of America’s 1) Emergency Motion For Protective Order, And/Or Alternatively, 2)
17
     Emergency Motion To Stay Deposition Pending Outcome Of Motion For Protective Order (ECF No.
18
     72) is scheduled for 1:00 PM, January 22, 2021, before Magistrate Judge Cam Ferenbach.
19
            IT IS FURTHER ORDERED that counsel/the parties must email Courtroom Administrator,
20
     Tawnee Renfro at Tawnee_Renfro@nvd.uscourts.gov, with an email address to be used for the video
21
     conference hearing by noon, January 21, 2021.
22
            IT IS ORDERED that the following Video Conference Instructions be adhered to as follows:
23
            INSTRUCTIONS FOR THE VIDEO CONFERENCE
24
            Instructions to the scheduled hearings will be sent via email thirty (30) minutes prior to the hearing
25
     to the participants email provided to the Court.
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1    • Log on to the call ten (10) minutes prior to the hearing time.

2    • Mute your sound prior to entering the hearing.

3    • Do not talk over one another.

4    • State your name prior to speaking for the record.

5    • Do not have others in the video screen or moving in the background.

6    • No recording of the hearing.

7    • No forwarding of any video conference invitations.

8    • Unauthorized users on the video conference will be removed.

9

10   DATED this 29th day of December, 2020.
                                                           _________________________
11                                                         CAM FERENBACH
                                                           UNITED STATES MAGISTRATE JUDGE
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